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                                                                                             ~i~ QiST.iC~~'~GL4~=.~

                                     UNITED STATES DISTRICT COURT                    BY            ,,,,_,_.__.~.—
                                    CENTRAL DISTRICT OF CALIFORNIA


       U n~~e~l   .3f~t~s o~                              ~~U~E~
                       A n,pr~~o.           PLAINTIFFS)
                             V.



                                                                          AFFIDAVIT RE
~Gni ~          ~ 5h ~ ~ ~'_ c,~~ e.      DEFENDANT(S).             OUT-OF-DISTRICT WARRANT



The above_named defendant was charged by: -d3 1 n~ e r„~ ~e v Pn v c ~e~ vi cep [~ t;,•,;r,~.Q L n ~e s~;q a~
in the    ~OU-I-he~l~                District of     Tp xa5                      on  ~ ~1211q           "
at               ❑ a.m. / ❑ p.m. The offense was allegedly committed on or about    4~ 1 ~ /Zo r t~
in violation of Title         10                    U.S.C., Sections) Id awl ~,~3~
to wit: ~OSSeSS~o~ o~             ~+ecn     er   ~o^"e    I)na~~~~ ~eo~       A~ce~~      ~.viceS

A warrant for defendant's arrest was issued by: C ~'r'S~'na ~. g~ N ~ ~, ~~         Mal i5-k~e           ~~~

Bond of$                               was ❑set/ Q recommended.

Type of Bond:

Relevant documents)on hand (attach):


I swear that the foregoing is true and correct to the best of my knowledge.

Sworn to before me, and subscribed in my presence on             ~~~—~                                    , by

               ~1.0                                         ,Deputy Clerk.



        ~`~
                                                               ~}r~ b ~r      G~ ~ s ens ~
Signature of Agent                                          Print Name of Agent


        ~.S - GS                                                 SF~eG~ /~ ~~ ~'
Agency                                                      Title


CR-52(05/98)                           AFFIDAVIT RE OUT-OF-DISTRICT WARRANT
